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             Exhibit 3
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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-142
         v.

 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; MEMBERS
 OF THE IDAHO STATE BOARD OF MEDICINE
 and IDAHO STATE BOARD OF NURSING, in their
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.
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            SUPPLEMENTAL DECLARATION OF CAITLIN GUSTAFSON, M.D.

       I, Caitlin Gustafson, M.D., hereby declare as follows:

       1.      I am over the age of eighteen. I make this supplemental declaration based on

personal knowledge of the matters stated herein and on information known or reasonably available

to me. If called to do so, I am competent to testify as to the matters contained herein.

       2.      I am a plaintiff in the above captioned action. As detailed in the first declaration I

submitted in this case, see Gustafson Decl. (ECF No. 2-3), I am a physician licensed to practice

medicine in the State of Idaho since 2004 and have been a practicing doctor in Idaho for nearly

two decades. I have been a board-certified family medicine physician with a fellowship in

obstetrics since 2007. I submit this supplemental declaration in support of Plaintiffs’ Motion for

Preliminary Injunctive Relief.

       3.      In my previous declaration, I stated that, “as a result of the Attorney General’s

letter”—which states that providers violate Idaho Code § 18-622(2) by referring women out of

state to access abortion care—“when my patients require abortions, I am now forced to tell them

that I am unable to help them and that I cannot say anything about their abortion options in other

states, even though that care is lawful in those states.” Gustafson Decl. ¶ 17.

       4.      I understand that on April 7, 2023, the Attorney General sent a follow-up letter to

Representative Brent Crane withdrawing his original letter from March 27, 2023. I understand

that the April 7 letter states that it is withdrawing the March 27 letter because the original analysis

had been altered by “intervening legislation” and that Representative Crane’s request was not

procedurally proper. Craft Decl. Ex. A at 1.

       5.      I understand that Lincoln Wilson, the Attorney General’s Civil Litigation and

Constitutional Defense Division Chief, has since made clear in conversations with my attorneys



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that the original March 27 letter was rescinded on procedural grounds. I further understand that,

in response to direct questioning from my attorneys regarding whether, given the withdrawal of

the letter, the Attorney General’s office is still taking the position that a referral for out-of-state

abortions violates Idaho Code § 18-622(2), Mr. Wilson responded that no inference can be drawn

about what the position of the Attorney General’s office would be in such a situation.

        6.      Given that the Attorney General has refused to renounce the legal substance of his

original March 27 letter, I continue to fear that, if I were to have conversations with patients

concerning the availability of abortion services outside of Idaho, or if I were to recommend an out-

of-state abortion provider or speak to that provider to discuss pertinent details of a patient’s history

or clinical status to assist the provision of safe care, my professional license could be suspended

and/or revoked.

        7.      I also continue to fear that I could be subject to prosecution for providing abortion

services or information related to licensed abortion care outside the state of Idaho.

        8.      I am still forced to tell my patients who require abortions that I am unable to help

them and that I cannot say anything about their abortion options in other states, even though that

care is lawful in those states.

        9.      The Attorney General’s refusal to renounce the legal substance of his original letter

thus continues to have a very strong chilling effect on my ability to speak with, counsel, and care

for my patients, which is contrary to my ethical obligation to care for my patients and to provide

them with information about all appropriate medical options. It is also contrary to the standard of

care in medicine that I, and all other physicians, are taught.




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